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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,               CASE NO.: 21-CR-02265-JLS
12                     Plaintiff,
13         v.                                ORDER GRANTING JOINT MOTION
                                             TO CONTINUE MOTION
14   FERNANDO VARGAS,                        HEARING/TRIAL SETTING
15                      Defendant.
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18         Upon joint motion of the parties, IT IS HEREBY ORDERED that
19   Mr. Vargas’ Motion Hearing/Trial Setting, currently scheduled for October 8,
20   2021, be rescheduled to November 4, 2021 at 1:30 p.m.
21         It is further ordered that time should be excluded in the interests of justice
22   because the parties have reached a resolution but need additional time to schedule
23   Mr. Vargas’s change of plea hearing. See 18 U.S.C. § 3161(h)(7)(A).
24         SO ORDERED.
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     Dated: October 6, 2021
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